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                           Edward Via College of Osteopathic Medicine (VCOM)

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                             GUIDANCE FOR VCOM STUDENTS ON CAMPUS
                        AND IN CLINICAL SETTINGS UNDER COVID-19 CONDITIONS
                                         BEGINNING 7-16-2021

 History: While the country has moved to Phase 3 guidelines, public health data suggests COVID-19 con-
 tinues as a threat nationwide. New strains such as the Delta variation have brought about even more
 concerns about the rising numbers of COVID patients in some of the states where VCOM is located (such
 as the recent rise in Louisiana). However, great strides have been occurring nationwide and as many
 more persons have become vaccinated and it has become apparent that vaccination is the most im-
 portant health initiative to reduce the threat and to be able to return to the normal on campus and clini-
 cal academic operations.

 The evidence-based medical data nationwide has demonstrated that vaccines reduce the number of
 cases, serious complications, and deaths related to COVID-19. The continuing evidence being gathered on
 the vaccine's safety has shown that while there is an increasing number of persons completing vaccina-
 tion, the overall incidence of complications has remained low. While the vaccine trials are not complete,
 the large number of persons who have received the vaccine now far exceeds the majority of clinical trials
 performed for other such vaccines and the complications remain low. In addition, the long-term effects
 of having the COVID-19 infection is unknown and more latent medical conditions from contracting the
 virus are being identified each month.

 VCOM, while requiring vaccination of students and employees for the safety of the classroom and work-
 place, also recognizes the importance of any person to be able to apply for exemptions due to medical,
 religious, or other reasons of belief. If any person has a concern over a health condition they has and is
 requesting information on whether or not to receive the vaccine (due to certain medical conditions), they
 should check with their physician first. Exemption forms exist for all students who are requesting not to
 participate in vaccination.

 The employees and students of VCOM have followed the nationwide guidelines by the CDC for Institu-
 tions of Higher Education (IHE) which have allowed VCOM to offer students medical education and have
 also allowed the continued employment of faculty and staff on and off campus during this pandemic. To
 continue safe operations, students, faculty, and staff are encouraged to continue to follow CDC and evi-
 dence-based medicine data (rather than media reports) and follow the policies and procedures listed in
 this document. VCOM is also following the Surgeon General’s requests to educate our community and to
 dispel misinformation that has been spread. VCOM students, faculty, and staff are being asked to be vac-
 cinated in an effort to keep everyone safe. The high numbers of students, faculty, and staff who have re-
 ceived vaccination have allowed VCOM to continue our operations to date. Complying with the new pro-
 cedures that follow, will allow more personal freedoms for all while still practicing safety measures as
 recommended by the CDC. VCOM requires all employees and students to be vigilant in following the pol-
 icies and procedures that follow. Notices will be sent anytime this document is updated.

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  SECTION 1: SCREENING FOR COVID-19
 VCOM developed a surveillance tool to screen employees and students for COVID-19 symptoms, illness,
 and/or significant exposures. Using the MyHealthTracer.com web application as our screening tool,
 which depends upon employees to perform their own self-health checks and to log their exposures and
 illnesses, has been instrumental in allowing VCOM to continue operations this past academic year. All
 students who have been fully vaccinated are only required to enter their status on MyHealth-
 Tracer.com when they have a known significant exposure, or they are experiencing symptoms of ill-
 ness.
       • SCREENING: Once fully vaccinated, the student may decrease their entries into MyHealth-
           Tracer.com to log when significant exposures, illness or symptoms occur.
           Those persons who are not fully vaccinated will be required to enter their status daily.
       • SELF QUARANTINE: Required 5-day self-quarantine periods without illness will still be required
           by those who are not vaccinated following any direct, significant, unprotected exposure.
       • MASKS: Protective masks are required unless a student or employee has been fully vac-
           cinated. (To be exempted from wearing a mask, vaccinated students and faculty must submit
           evidence of vaccination to their COVID-19 officer.)
       • PROOF OF VACCINATION: Students wishing to be exempt from wearing a mask and using
           MyHealthTracer.com must submit evidence to the appropriate Associate Dean as their COVID-
           19 officer or through the normal vaccine submission process.
      • EVIDENCE OF VACCINATION is defined as an image of your vaccination card demonstrating full
          vaccination to your COVID-19 officer. If you do not wish to submit this evidence, then you must
          wear a mask at all times on campus


  SECTION 2: SYMPTOMS OF COVID-19
 A student experiencing any of the following symptoms may not enter College facilities and should isolate
 immediately. Symptoms most common to COVID-19 include the following:
     A. Fever (subjective or 100.4 degrees Fahrenheit) or chills,
     B. Cough, shortness of breath or difficulty breathing,
     C. Extreme fatigue from illness, with muscle or body aches,
     D. Headaches related to an acute illness
     E. New and remarkable loss of taste, smell, and appetite
     F. Sore throat and congestion
     G. Nausea, or vomiting, and/or diarrhea,

  It is not likely you will experience all the symptoms above, and so if you are experiencing any of the
  symptoms and feel ill, you must stay at home and isolate yourself from others to see if further illness
  develops. In general, there are no illnesses that you want to bring to a classroom or the workplace, even
  if it is not determined to be COVID-19. You must log the illness on the MyHealthTracer.com application.




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  If a medical student becomes ill, call the appropriate Associate Dean (Associate Dean for Student Affairs
  for OMS 1 or OMS 2 and Associate Dean for Clinical Affairs for OMS 3 or OMS 4) as your COVID-19 offic-
  ers and inform the medical education office of your absence – requesting an excused absence through
  the Associate Dean for Medical Education.


  SECTION 3: VCOM CAMPUS PREVENTIVE HEALTH SAFETY MEASURES TO AVOID
  COVID-19 RESTRICTIONS
 Masks: If fully vaccinated, and you prefer not to wear a mask, then you must provide evidence to the
 appropriate COVID-19 officer of vaccination. If you wear a mask daily, you are not required to submit the
 proof of vaccination on the Alabama campus, in order to follow the state’s laws. As many students may
 prefer to wear a mask to avoid the Delta variant which may be resistant to certain vaccines, this will not
 identify you as someone with an exemption.

 Practice Good Hygiene: Avoid touching your face with your hands. Wash hands frequently for 20 sec-
 onds or more. Use the hand sanitizer frequently esp. before/after touching doors, elevators, stair rails
 and frequently used surfaces. Hand sanitizer stations are available throughout the building. Employees
 and students should avoid sharing items such as pens, phones, computers, or other hand-held items.

 General Safety Measures: You should, however, continue to use the hand sanitizers and good hygiene.
 You should socially distance whenever possible. Do not congregate in halls, parking lots, bathrooms, li-
 brary, or other small areas where social distancing cannot be done.

  Safety Measures related to Restroom Use and Handwashing: To avoid overcrowding, the restrooms’
  capacity is limited to the number of people in the stalls and no more than 4 persons waiting inside the
  bathroom. For this reason, to avoid congregating by bathrooms, employees should attempt to use bath-
  rooms at times when students are not on a break (not at the 10-minute period before the hour ie: 9:50
  to 10, 10:50 to 11, or from 12 to 12:15). Employees and students should wash hands for 20 seconds or
  more and use hand sanitizer.


  Continue to Avoid Others Who Are Ill off campus whether at home or in transit so to not bring COVID or
  other illnesses to campus.


  SECTION 4: VACCINES
  VCOM, as a medical school, recognizes that the only way for the pandemic to be resolved is through
  widespread vaccination. It is evident that COVID numbers are increasing again in certain states (such as
  Louisiana) where VCOM campuses are located. Certainly, the medical evidence over time has shown
  that vaccination is the appropriate way to avoid the spread of viruses. The Surgeon General has asked
  that everyone continue to avoid spreading myths and provide more information on evidence-based
  medicine studies regarding the COVID-19 vaccine, rather than certain types of media stories which have
  at times supported myths or spread fear .

  Therefore, VCOM stands behind the CDC, the Surgeon General, and the medical professions (AMA and
  AOA) in the country in supporting vaccination. Students participate in vaccination to assure the safety


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  of both the patients to which they provide medical care, and to the students and faculty in the clinical
  setting and on the VCOM Campuses.

  Where the states allow VCOM to require the vaccine, VCOM will require the vaccine for all students.
  Where states provide rulings that do not allow requiring the vaccines, they will be strongly recom-
  mended and only required to participate in educational settings that involve hands-on patient care or
  when providing hands on examination of classmates or the patients that the classmates care for.
  Vaccination is the only true measure to assuring each individual student’s safety, as well as for the
  safety of the patients who are being cared for.
  Students who have religious, medical, or other conditions that require exemption must provide proof
  of this request to the College. This procedure will allow the College to prepare for and respond appro-
  priately and to provide accommodations when necessary.

  Many organizations, such as the EEOC, OSHA, and other national organizations determining the need for
  vaccination in the workplace and on College Campuses, have all determined and issued statements that
  verify vaccination is required for employees and students to be safe in classroom environments where
  exposure can be significant and in the campus workplace. VCOM also follows recommendations for
  healthcare facilities to operate safely under COVID-19 pandemic conditions. Finally, VCOM follows the
  recommended pathways for determining accommodations following EEOC, OCR, and OSHA guidelines.

  The majority of states in which VCOM operates allow and encourage Institutions of Higher Education to
  set their own requirements for vaccines. Currently, subject to the provisions of the next paragraph,
  VCOM is requiring vaccination for the fall semester for the Virginia, South Carolina, and Louisiana cam-
  puses and is strongly recommending vaccination in Alabama where students are asked to volunteer such
  cooperation. If a student requests exemption from vaccination for medical or religious reasons, this will
  be reviewed by a committee according to EEOC guidelines for such accommodations.
  VCOM does not require every student to have vaccination. Students who elect to attend VCOM, who do
  not wish to receive the vaccination while still in the current emergency status for evaluation, have multi-
  ple options including, but not limited to: 1. Not to attend, 2. To defer their enrollment for one year, 3.
  To be accommodated through completing all requirements except patient care duties until more infor-
  mation is known about the vaccine (currently estimated for January 2022) or the student may be placed
  in an alternate education pathway that defers only clinical involvement. For this purpose, a student may
  also need to defer patient care that is simulated (so not to expose standardized patients) or to class-
  room examinations and treatment modality practices performed on other students (so not to expose
  other students who do not wish to participate). These alternatives allow a student to defer or attend in
  a modified role.

  Students in the OMS 3 and OMS 4 years who are not vaccinated may be required to have alternate ex-
  periences for rotations that allow students who are not vaccinated to participate. This may result in a
  change in the rotation site. Students should be aware that most residencies will require vaccination and
  will ask the College to verify vaccination status for rotation placement.

  All Students who are not vaccinated must wear a mask whether on campus or when allowed in cer-
  tain clinical environments. The student may be required to have frequent testing for COVID-19 to as-
  sure they are not exposing patients or other students and healthcare personnel. The non-vaccinated
  student must also use the MyHealthTracer.com application daily to assure safety of all.

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     •   Vaccines are now readily available for all at this time, and, therefore, any student or employee
         having difficulty obtaining the vaccination may request assistance from the COVID-19 officer,
         who will assist them in the process.

  All students who show evidence of their vaccination card to their COVID-19 officer may attend cam-
  pus without a mask or if they plan to travel as long as they are not experiencing any symptoms of ill-
  ness. (Those students or employees who do not wish to show their card are not required, however
  they must continue to wear a mask and must avoid travel while the semester is in session. There are
  students and employees who wear masks by preference and so there is no discrimination risks for
  those who do wear masks).



  VCOM STUDENT POLICIES ON VACCINATION:

     1. Students on all Campuses are required to have the vaccine to attend all classes and all clinical
         environments. Altered programs for attendance and other accommodations are available as
         determined by the COVID-19 Committee following current EEOC guidelines. These are deter-
         mined on a one-by-one basis for the 2021-2022 academic year (beginning in July 15, 2021).
     2. Students requesting to not wear a mask must have proof of vaccine.
     3. Students must provide proof of vaccine to be involved in patient care.
     4. Students who are not vaccinated and who are without a mask will be referred to Honor Code
         Council for placing the health of others on campus at risk.
     5. It is consistent with the mission of VCOM to place the health and well-being of patients first and
         foremost, and is the reason for this requirement.
     6. Students in the OMS-3 and OMS-4 year from Virginia, Louisiana, and Carolinas Campuses are
         required to have the vaccine to be involved in patient care.
     7. Students from Alabama (by law) in the OMS-3 or OMS-4 year are strongly recommended to
         have the vaccine and must have the vaccine to participate in patient care if the clinical site or
         any clinical faculty member requires the vaccine to participate in patient care. This is for the
         safety of the patients in the clinical setting as well as the medical staff working in that clinical
         setting.
     8. If a Clinical Training Site requires proof of vaccination, the student must provide this proof. If
         the student is not vaccinated, the student may have to be moved to a site where the vaccination
         is not required. Students should be aware this may result in a delay in their education for such
         transitions.
     9. Any student who is not vaccinated must wear a mask and practice all safety measures to avoid
         contracting or spreading COVID-19.
     10. Students who are not vaccinated should realize that if they contract COVID-19, their academic
         program may be delayed while they are in recovery and quarantine.
     11. OMS-3 and OMS-4 Students will provide the verification of the vaccine to their COVID-19 officer
         (the Associate Dean for Clinical Affairs) prior to the beginning of the Academic year as the clini-
         cal sites require this verification.
     12. The requirement for vaccination is the same as other required immunizations a student must
         receive to enter medical school and to be involved in caring for a patient (whether a standard-
         ized patient or patient in the clinical setting). This is for the protection of the patient and the



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           protection of the student. Although the COVID-19 vaccine is approved under emergency condi-
           tions, the numbers of persons receiving the vaccine and the relatively low number of complica-
           tions have far exceeded numbers in prior vaccine studies. However, the final determination was
           to be in January 2022, which is now estimated to be released in fall of 2021.
     13.   Students unable to obtain the vaccination for medical or religious reasons must submit a re-
           quest for accommodations to their COVID-19 officer and provide appropriate documentation. A
           formal review process will follow to determine what accommodations can be made. Again, this
           is done following EEOC and other educational guidelines.
     14.   If accommodations cannot be made, a delay in the program may occur until accommodations
           can be made or the threat of COVID-19 is resolved.
     15.   Students in the OMS-3 and OMS-4 years must realize that the individual clinical site will have
           their own requirements regarding COVID-19 vaccinations. Students who do not follow or com-
           ply with the site requirements will be brought back to campus to determine if alternative ar-
           rangements are appropriate and can be made, including, but not limited, to alternate site place-
           ment.
     16.   Flu shots and other vaccines: Students and employees were strongly recommended to have
           seasonal flu shot. While flu season is over, the recommendation will be valid in the fall as well.
           All other requirements of vaccinations for medical students still remain.
     17.   Medical students are considered healthcare workers as they will be involved in the care of
           standardized patients and patients seen in early clinical experiences, including elderly patients
           at risk from COVID-19.
     18.   Students should understand while they are learners in the clinical training sites, they are also
           guests of the patients who are allowing them to be a part of their clinical care. For this rea-
           son, students must always place the patient’s well-being in front of their own preferences.
           Students who are not vaccinated, and transmit COVID-19, assume all risk (financially and
           other) for caring for patients while not vaccinated.


  SECTION 5. DELIVERY OF OMS-1 & OMS-2 ACADEMIC PROGRAMS ON CAMPUS
           Safety measures will continue for the curriculum to be delivered in various settings and curricu-
           lum delivery styles, however, most restrictions regarding the classrooms and labs have been
           lifted.
               1. CLASSROOMS: The classrooms will now be used at full capacity as restrictions have been
                   limited. Students should be aware that if an outbreak occurs, alternating classrooms and
                   classroom times may return.
               2. MASKS are to be worn at all times in the classroom or laboratory unless fully vaccinated
                   and may be worn by those vaccinated if preferred. For approval not to wear a mask,
                   the student or employee must provide the proof of vaccination to the COVID-19 officer. A
                   list of those students and faculty who must wear a mask (who have not been cleared as
                   vaccinated) will be provided to the Medical Education Department so to assure the safety
                   of others. This list will be kept confidential.
               3. ACADEMIC CALENDARS The Associate Deans for Medical Education on each campus will
                   continue to provide the academic calendars. The academic calendar will list when the
                   classes or lab occurs, and whether the educational lecture or lab is a mandatory learning
                   (ML) event or an asynchronous learning event (AL).

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            4. SEAT ASSIGNMENTS will continue as they have in years past before the COVID-19 pan-
               demic.
            5. LABORATORIES All Laboratories are considered as mandatory learning events. All stu-
               dents must attend laboratories and/or have an excused absence (which will require re-
               mediation). Masks must be worn by all students who are not vaccinated.
            6. ANATOMY LABORATORY will be split to two sessions where there will be no more than
               50% of the class in the laboratory at any one time. This has been true for a number of
               years. Students who are not vaccinated will be paired with other students who are not
               vaccinated or a student who agrees to be placed with a non-vaccinated student.
            7. PHYSICAL DIAGNOSIS AND OMM LABORATORIES will be split where no more than 50%
               of a class is in the laboratory at one time as in years prior. Students who are not vac-
               cinated will again be assigned to other lab partners who are not vaccinated or have self-
               identified as approving to be paired with students who not vaccinated where possible.

  SECTION 6. DELIVERY OF THE OMS-3 & OMS-4 CLINICAL PROGRAM

        History: VCOM initially (2020-present) determined new clinical program requirements for the
        OMS-3 and OMS-4 year students that allowed students to finish their academic program on
        time.

        OMS-3 Rotations: For students who are beginning the OMS-3 year in July 2021; the following
        academic program requirements will apply:

        •   Eight required core clinical 4-week rotations in the following fields: family medicine, pediat-
            rics, OB/GYN, surgery, psychiatry, rural primary care, and 2 internal medicine clinical rota-
            tion months.
        •   One third-year selective has been restored. The selective must be completed in a
            VCOM core site. A list of selectives will be provided in the 2021-2022 handbook.
        •   One four-week period for the Research course period has been moved from year 4 to year
            3 to enable the student to begin their research earlier, providing more time for data collec-
            tion, study, and publication.
        •   Vaccination: All OMS-3 and OMS-4 students will be required to be vaccinated to ensure a
            timely program and the clinical rotation site to which the student was originally matched.
            Vaccination is required for patient care for the fall term unless a medical condition, religious
            exemption, or other state allowed exemption prohibits vaccination.
        •   Vaccination may determine the site for clinical rotations to which you are assigned.
        •   OMS-3 and OMS-4 Students who are unvaccinated for COVID –19 will be required to self-
            quarantine for a 10-day period between rotations (Just as last year’s schedule utilized).
        •   Each clinical site has the right to require vaccination and determine whether they will allow
            a student who is not vaccinated to participate in patient care. The student who is not vac-
            cinated may be required to move to a different clinical site for one or more rotations.
        •    If a student has a medical condition that does not allow vaccination or validated religious
            exemption, the student should report this to the Associate Dean for Clinical Affairs who will
            attempt to assist the student in locating a core rotation site where such an exemption is al-
            lowed.


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        •       Students should be aware that lack of vaccination may delay their education if they are
                exposed to COVID-19 and require quarantine, or if they become ill with COVID-19, and to
                allow for quarantine between rotations.
        •       It is considered unprofessional and unethical for a student to represent themselves as
                fully vaccinated against COVID-19 to a clinical site if they are not.
        •       Clinical Educational Modules and post-rotation exams will continue to accompany all re-
                quired rotations.
        •       The Geriatrics rotation in the OMS-3 year has been discontinued. When COVID restrictions
                are lifted by Geriatric sites, the core Geriatrics curriculum has been moved to the OMS-1
                and OMS-2 years as early clinical experiences.
        •       All students who are not vaccinated must use the MyHealthTracer.com application daily.
                Failure to utilize the application will result in a honor code violation and the student will be
                suspended until the Honor Code Committee or Professional and Ethics Standards Board can
                meet.

  SECTION 7. OMS-4 CLINICAL PROGRAM REQUIREMENTS for the Class of 2022

                    •    Four-weeks to complete professional development. This may be taken in one- or
                         two-week periods to allow students to complete residency interviews and the other
                         requirements including completing the online professional development curriculum.
                    • Five (5) elective rotations are allowed by VCOM. Electives were designed to pre-
                         pare the fourth-year student for the field the student wishes to enter and to allow
                         those who haven’t made a final choice to experience the rotation first. Students will
                         plan their electives when meeting with the Associate Dean for OMS 4 (and with ad-
                         visement by clinical chairs).
                    • Four (4) Selective Rotations. In addition to electives, students must complete the
                         required selective rotations. These are based on required medical knowledge to
                         enter residency and may be tailored to the field the student is to enter. The 4 re-
                         quired core selective rotations for the 2021-2022 academic year include the follow-
                         ing: One (1) 4 week surgical selective; One (1) 4 week medical selective; One (1)
                         medical or surgical selective; and One (1) intensive medicine selective.
                    • One (1) required Emergency Medicine rotation
            •     The electives are possible in the VCOM Core hospitals where residencies exist and a mini-
                  mum of one elective is possible through the VSLO system
            •     The Director for OMS 4 Clinical Rotations will assist the student in determining the rota-
                  tion availability.
            •     Many outside electives remain restricted nationally by GME oversight groups or by hospi-
                  tals and residency programs. These restrictions are not VCOM restrictions and are being
                  imposed externally.
            •     Most outside elective rotations will require vaccination. This is imposed by the clinical
                  site and not VCOM.
            •     Elective and Selective choices for the fourth year selective(s) must be made from the 4th
                  year Selective Rotations list in the handbook.
            •     Interviews for Residency: In 2020, for the first-time residencies began interviewing vir-
                  tually. OMS-4 students should be aware that Online interviews for residency may or may
                  not continue and so a rising fourth-year student must be prepared for both types of inter-
                  view. Ultimately, at this time, whether the interview process will be in-person, or the

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              choice of virtual interviews is up to each residency site. The Associate Dean for OMS-4
              and GME will provide further information on a program used to prepare students for resi-
              dency interview.
          • All OMS-3 and OMS-4 students are required to use the MyHealthTracer.com online appli-
              cation each day until fully vaccinated and have provided the Associate Dean for Clinical
              Affairs with proof of vaccination. After vaccination, the student is only required to use the
              application to report illness or significant exposures and a once per month report of no
              illness-when no illness has occurred. Students must log their vaccination and provide a
              copy of their vaccination card to the Director of Clinical Rotations for their year (OMS 3 or
              OMS 4). All OMS-3 and OMS-4 students are expected to complete vaccination as they are
              considered a healthcare worker. Students should recognize that many clinical sites will
              not allow students to rotate unless fully vaccinated and many residency programs will not
              select a student who is not vaccinated.
          • Students should be aware it is doubtful that you will be able to match to a residency if
              not participating in vaccination. This is not up to VCOM, but the site requiring vaccina-
              tion.
          • Student Seeking a Waiver to NOT Be Vaccinated
               Beginning June 2021, any student who is not vaccinated will be required to submit a re-
              quest for accommodations to the COVID-19 officer (Associate Dean for Clinical Affairs) for
              not being vaccinated, which will be reviewed by the COVID-19 Committee.
          • Proof of Vaccination: Students should be aware that, just as with the other required vac-
              cinations for clinical care, proof of all vaccines are provided to the clinical sites prior to
              clinical training.
          • Students may now see patients at risk for having COVID-19 if fully immunized and if
              wearing appropriate protections as designated by the Clinical Site. The student who is
              not vaccinated must seek approval to see a potential COVID-19 patient from the supervis-
              ing faculty member. The student should, of course, avoid seeing patients with known
              COVID-19 if not vaccinated, and, if not vaccinated, a period of self-quarantine will be re-
              quired. This includes patients under investigation (PUI) when a strong suspicion for
              COVID-19 is present.
          • Students in clinical education should report any illness to their clinical education site and
              assure that he or she is excused for the day if experiencing any symptom of illness. Stu-
              dents who are not vaccinated must also report any significant exposure to a patient with
              COVID-19.
          • A Student MUST COMMUNICATE with a Notification of Illness or Symptoms of COVID-19
              and/or unprotected exposures which will result in missing days from a rotation:
                • The clinical faculty member with whom they are rotating
                • The site coordinator and DSME (if in a VCOM core site) and
                • The COVID-19 Officer (who is the Associate Dean for Clinical Affairs).
                • Log the illness on MyHealthTracer.com.
                • Students should anticipate that all missed clinical rotations days will need to be re-
                    mediated to pass the rotation and this can generally be done on weekends if a small
                    number of days.
      Summary: VCOM expects OMS-3 and 4 students to model exceptional physician professional be-
      havior to safeguard their health and the health of the public. This is accomplished through vac-
      cination, early recognition of signs and symptoms, taking timely protective actions to avoid the



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       transmission of COVID-19 to others in the clinical setting, and reporting their situation to those
       responsible for their learning and well-being.

       Students are to notify the Associate Dean for Clinical Affairs if not being provided PPE by their
       clinical site so VCOM can provide PPE for the student.

   SECTION 8: TRAVEL
         Students who are not vaccinated are recommended to limit their travel (as the CDC recom-
         mends) so to limit their exposure to COVID-19. Other requirements:

                 a. Vaccinations are needed by all who are traveling across state lines or out of the
                    country. This prevents illness for the student and prevents the student from being a
                    vector.
                 b. The CDC states, “if Fully Vaccinated” the employee or student Can Safely Travel in
                    the United States. IF not vaccinated, travel is a risk factor for COVID-19.
                 c. Safe activities are still recommended while on travel for faculty and students such as
                    outdoor activities, (ie: camping, hiking, etc.) which are still recommended while
                    avoiding concerts, and indoor public gatherings that are considered super-spread-
                    ers.
                 d. INTERNATIONAL TRAVEL International travel remains discouraged at this time
                    and prohibited for those students who are not fully vaccinated.
                 a. Students: International travel for students requires pre-approval by the COVID-19
                    officer and the Campus Dean. Unless a student is fully vaccinated all international
                    travel is prohibited and will not be approved. Approved students should not travel
                    to any country where COVID-19 is increasing or high risk (level 3 or 4) as a minimum
                    of a five day quarantine is required before returning to campus and a negative
                    COVID-19 test. Students must be aware that, even if international travel is ap-
                    proved, and return to the US is delayed, the student may or may not be able to
                    make up missing exams, labs, or mandatory learning events. Missing such events
                    may delay the student’s program and cause the student to have to make up such
                    work over block break or in the summer. Therefore, the student must have prior
                    approval from medical education before international travel.
                 b. When VCOM International Medical Missions are re-established, all students wish-
                    ing to attend these trips will be required to be vaccinated. The trips will not be re-
                    established until the country is at least a level 3 or less.
                 c. All faculty and students must follow the CDC guidelines, as well as those specified
                    above, following international travel. If planning travel please review the following
                    and follow these guidelines as well as those in b. and c. above.
                    https://www.cdc.gov/coronavirus/2019-ncov/travelers/after-travel-precau-
                    tions.html




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                                                                                                Exhibit No. 8
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   Emergent Actions:
   The COVID-19 Committee Chair or the President, Campus Dean, the Senior Director for Human
   Resources, the Senior Vice President, and the Vice Provost for Institutional Planning and Ac-
   creditation will meet on any emergent conditions that arise and may call a meeting of the Com-
   mittee when needed. The Director of Human Resources and the Student COVID-19 Officer may
   also be included if there is a Campus outbreak.

   In this case, the liaison with the local Health Department / District or their COVID-19 contact
   will be notified of new cases. The Directors of the local Health Departments where any of the
   VCOM Campuses are located, will be invited to be a member of the Campus Committee and will
   receive a copy of this plan as well as updates. The local Health Departments will be asked to
   perform contact tracing where needed. Confidentiality is maintained for all tracing.




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                                                                                        Exhibit No. 8
